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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF CALIFORNIA


                                   MEMORANDUM



Honorable Morrison C. England, Jr.            RE: Sohail Mohammed AMIN
Chief United States District Judge                Docket Number: 2:10CR00364-01
Sacramento, California                            REQUEST TO AMEND JUDGMENT



Your Honor:

On November 16, 2012, Sohail Mohammed Amin was sentenced following his conviction for
18 USC 4 - Misprision of a Felony. His sentence included 18-months custody of the Bureau of
Prisons followed by 12 months Supervised Release. He released from custody on February 28,
2014.

At the time of sentencing, the mandatory $100 special assessment was not included on the
Judgment (the Criminal Monetary Penalties page was missing), therefore, there are no financial
penalties reflected on the Judgment. For purposes of clarity, the Probation Officer humbly
requests the original Judgment be amended to add this requirement, if so supported by the
Court’s Order.

This is respectfully submitted for Your Honor’s review and direction.



                                     Respectfully submitted,

                                        /s/ Laura Weigel

                                      Laura Weigel
                              United States Probation Officer




                                                                                     REV. 03/2014
                                                                        MEMO-COURT W ORDER.DOTX
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     RE:      Sohail Mohammed AMIN
              Docket Number: 2:10CR00364-01
              REQUEST TO AMEND JUDGMENT


     Dated:     May 2, 2014
                Modesto, California
                LW/lr


                                          /s/ Jack C. Roberson
      REVIEWED BY:               Jack C. Roberson
                                 Supervising United States Probation Officer



                                       ORDER OF THE COURT

☒   Approved – Judgment to be amended to include the
    mandatory $100 special assessment.
                                                        ☐      Disapproved – Probation Officer to contact the
                                                               Court.


     Dated: May 19, 2014




     cc:      Michael M. Beckwith
              Assistant United States Attorney

              Cristina C. Arguedas
              Defense Counsel (Retained)




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                                                                                       REV. 03/2014
                                                                          MEMO_COURT W ORDER.DOTX
